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     New Golden Daisy, Inc.
18                          UNITED STATES DISTRICT COURT
19                         NORTHERN DISTRICT OF CALIFORNIA

20   ORLANDO GARCIA,                             )     Case No.: 3:21-cv-06319-AGT
                                                 )
21           Plaintiff,                          )     JOINT STIPULATION FOR
     v.                                          )     DISMISSAL PURSUANT TO
22                                               )
     GEORGE L. YEE, in individual and                  FEDERAL RULE OF CIVIL
     representative capacity as Trustee of The   )
23                                               )     PROCEDURE 41(a)(1)(A)(ii)
     George and Rose Yee Family Trust UTD        )
24   July 31, 2001; ROSE YEE, in individual
     and representative capacity as Trustee of   )
     The George and Rose Yee Family Trust        )
25   UTD July 31, 2001; NEW GOLDEN
     DAISY, INC., a California Corporation,
26
             Defendants.
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     Joint Stipulation                           -1-            3:21-cv-06319-AGT
          Case 3:21-cv-06319-AGT Document 23 Filed 01/18/22 Page 2 of 3




 1          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), IT IS STIPULATED by
 2   and between the parties hereto that this action may be dismissed with prejudice as to all
 3   parties; each party to bear his/her/its own attorneys’ fees and costs. This stipulation is
 4   made as the matter has been resolved to the satisfaction of all parties.
 5
 6   Dated: January 17, 2022          CENTER FOR DISABILITY ACCESS
 7
 8                                    By: /s/Amanda Seabock
                                            Amanda Seabock
 9                                          Attorneys for Plaintiff
10
11   Dated: January 17, 2022          WESTON LAW GROUP PC
12
13
                                      By: /s/Jonathan Black
14                                           Jonathan Black
                                             Attorneys for Defendants
15
                                             George L. Yee and Rose Yee
16
17
18   Dated: January 17, 2022          GIBSON, DUNN & CRUTCHER LLP
19
20
21                                    By: /s/Peter S. Modlin
22                                           Peter S. Modlin
                                             Attorneys for Defendant
23                                           New Golden Daisy, Inc.
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     Joint Stipulation                           -2-             3:21-cv-06319-AGT
          Case 3:21-cv-06319-AGT Document 23 Filed 01/18/22 Page 3 of 3




 1                              SIGNATURE CERTIFICATION
 2
 3   I hereby certify that the content of this document is acceptable to Jonathan Black,
 4   counsel for George L. Yee and Rose Yee, and Peter S. Modlin counsel for New Golden
 5   Daisy, Inc. that I have obtained authorization to affix their electronic signature to this
 6   document.
 7
 8   Dated: January 17, 2022         CENTER FOR DISABILITY ACCESS
 9
10                                   By: /s/Amanda Seabock
                                           Amanda Seabock
11                                         Attorneys for Plaintiff
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     Joint Stipulation                          -3-            3:21-cv-06319-AGT
